         Case 1:18-cr-00032-DLF Document 133 Filed 05/20/19 Page 1 of 3



                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,
                                                         CRIMINAL NUMBER:
               v.
                                                         1:18-cr-00032-2-DLF
CONCORD MANAGEMENT AND
CONSULTING LLC

       Defendant.


DEFENDANT CONCORD MANAGEMENT AND CONSULTING LLC’S OPPOSITION
TO GOVERNMENT’S MOTION FOR LEAVE TO FILE AN EX PARTE, IN CAMERA,
  CLASSIFIED ADDENDUM TO THE GOVERNMENT’S MOTION REGARDING
                      PROTECTIVE ORDER

       Defendant Concord Management and Consulting LLC (“Concord” or “Defendant”),

through counsel, submits this opposition to the Government’s Motion for Leave to File an Ex

Parte, In Camera, Classified Addendum to the Government’s Motion Regarding Protective

Order (“Motion” or “Mot.”).

       Once again, citing no relevant legal precedent, the government seeks to communicate ex

parte more unspecified classified and non-classified information to the Court in support of its

position never before approved by any federal court that a foreign corporate defendant cannot

have access to non-classified discovery in its country of incorporation.         Also again, the

government bizarrely states that it intends to invoke the Classified Information Procedures Act

(“CIPA”) in this case involving no classified discovery, “should discovery in this case continue.”

Mot. 4 n.3. So the government ignores what the Court has already stated, that the government

has not made the necessary particularized showing to withhold 3.5 million documents of

discovery from Defendant’s view.




                                                1
          Case 1:18-cr-00032-DLF Document 133 Filed 05/20/19 Page 2 of 3



        The two cases cited by the government are irrelevant to the issue before the Court as

explained in Defendant’s opposition to the government’s previous Motion for Leave to File Ex

Parte, In Camera, Classified Addendum. See id. 2-4, Dec. 27, 2018, ECF No. 81. Briefly,

United States v. Napue, 834 F.2d 1311 (7th Cir. 1987) involved witness safety, an issue not

raised by the government here. And United States v. Yunis, 867 F.2d 617 (D.C. Cir. 1989)

involved an ex parte submission pursuant to CIPA regarding classified discovery, of which none

exists in this case.

        While the government concedes that ex parte submissions “are generally disfavored,”

Mot. 2, it fails to advise the Court of the case law highly critical of such submissions. The

reason that ex parte submissions are disfavored is that they conflict with the fundamental basis of

our system of justice that a fair hearing requires a reasonable opportunity to understand and rebut

the claims of the opposing party. See United States v. Microsoft, 56 F.3d 1448, 1464 (D.C. Cir.

1995); see also Chekkouri v. Obama, 158 F. Supp. 3d 4, 5-6 (D.D.C. 2016) (noting that courts

permit ex parte proceedings only in the rarest of circumstances).

        The dangers in proceeding ex parte are already apparent in this case. First, the Court has

candidly and honestly admitted that it misunderstood the ex parte arguments originally proffered

by the government to obtain the existing Protective Order, mistakenly believing that the

documents themselves were truly sensitive. Sealed Tr. Of Status Conference 50:4-50:9, Apr. 10,

2019. Second, the Court has candidly and honestly admitted that it does not have the expertise to

determine whether individual documents raise national security concerns such that they cannot

be viewed by Defendant Concord. Id. 62:3-62:17. Now the government seeks to further burden

the Court with ex parte information in the context of the Court having not itself reviewed a

single page of the allegedly sensitive discovery; thus forcing the Court to blindly rule without the




                                                 2
         Case 1:18-cr-00032-DLF Document 133 Filed 05/20/19 Page 3 of 3



benefit of advocacy on behalf of Concord. See Dennis v. United States, 384 U.S. 855, 875

(1966) (“The determination of what may be useful to the defense can properly and effectively be

made only by an advocate.”)

        At a minimum, the Court should deny the government’s Motion and require in the first

instance that the government make its case for withholding discovery from Concord without

secret communications to the Court. If the government fails, it can re-urge its motion at that

time.

        For the reasons set forth above, Defendant Concord Management and Consulting LLC

respectfully requests that the Court deny the government’s Motion.

Dated: May 20, 2019                                Respectfully submitted,

                                                   CONCORD MANAGEMENT AND
                                                   CONSULTING LLC

                                                   By Counsel

                                                    /s/Eric A. Dubelier
                                                   Eric A. Dubelier
                                                   Katherine Seikaly
                                                   Reed Smith LLP
                                                   1301 K Street, N.W.
                                                   Suite 1000 – East Tower
                                                   Washington, D.C. 20005
                                                   202-414-9200 (phone)
                                                   202-414-9299 (fax)
                                                   edubelier@reedsmith.com
                                                   kseikaly@reedsmith.com




                                               3
